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                    UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF GEORGIA
                        BRUNSWICK DIVISION

UNITED STATES OF AMERICA

V.                                             CR 218-4


GARYGOSS



                     SUMMARY OF PLEA AGREEMENT


DEFENSE COUNSEL:

Reid Zeh, Esq.

COUNTS/STATUTES CHARGED IN INDICTMENT

Count 1: 21 U.S.C. § 846          Conspiracy to Possess with Intent to
                                  Distribute and to Distribute 5 Grams or
                                  More of Methamphetamine

Count 2: 21 U.S.C. § 841(a)(1)    Possession of 5 Grams or More of
                                  Methamphetamine with Intent to Distribute

Count 3: 18 U.S.C. § 922(g)(1)    Felon in Possession of Firearm(s) and
                                  Ammunition

Count 4: 18 U.S.C. § 922(g)(3)    Drug User in Possession of Firearm(s) and
                                  Ammunition

Count 5: 18 U.S.C. § 922(g)(1)    Felon in Possession of Firearm(s) and
                                  Ammunition

Count 6: 18 U.S.C. § 922(g)(3)    Drug User in Possession of Firearm(s) and
                                  Ammunition

Count 7: 18 U.S.C. § 924(c)       Possession of Firearm(s)in Furtherance of a
                                  Drug Trafficking Crime
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COUNTS/STATUTES PLEADING TO:

Count 1: 21 U.S.C. 846                Lesser Included Offense: Conspiracy to
                                      Possess with Intent to Distribute and to
                                      Distribute a Quantity of Metbampbetamine

Count 3: 18 U.S.C. § 922(g)(1)        Felon in Possession of Firearm(s)

PENALTY:

Count 1:          (LESSER INCLUDED)Conspiracy to Possess with Intent to
                  Distribute and to Distribute a Quantity of Metbampbetamine, 21
                  U.S.C, § 846:

                  -not more than 20 years of incarceration;
                  -not more than a $1,000,000 fine;
                  -not less than 3 years of supervised release, up to life;
                  -$100 special assessment


Count 3:    Felon in Possession of Firearm(s), 18 U.S.C. § 922(g)(1)

                  -not more than 10 years ofincarceration;
                  -not more than a $250,000 fine;
                  -not more than 3 years of supervised release;
                  -$100 special assessment

                  -However, if defendant is deemed an Armed Career Criminal
                  under 18 U.S.C. § 924(e), then defendant is subject to enhanced
                  penalty outlined in the penalty certification and the plea
                  agreement.

ELEMENTS

      Count One: Conspiracy to Possess with Intent to Distribute and to Distribute
                a Quantity of Metbampbetamine, 21 U.S.C. § 846:

            1)    Two or more people in some way agreed to try to accomplish a
                  shared and unlawful plan to possess a quantity of
                  metbampbetamine;

            2)    the defendant knew the unlawful purpose ofthe plan and willfully
                  joined in it; and
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         3)     the object of the unlawful plan was to possess with intent to
                distribute and to distribute a quantity of methamphetamine.

    Count Three: Felon in Possession of Firearm(s):

          1)    The defendant knowingly possessed a firearm in or affecting
                interstate commerce; and

          2)    Before possessing the firearm, the defendant had been convicted
                of a felony- a crime punishable by imprisonment for more than
                one year.



SUMMARY OF MATERIAL PROVISIONS OF PLEA:

    •     The defendant agrees to plead guilty to the lesser- included offense in
          Count One of the Indictment(Conspiracy to Possess with Intent to
          Distribute and to Distribute a Quantity of Methamphetamine), and
          Count Three of the Indictment, charging Felon in Possession of
          Firearm(s).

    •     The government will dismiss the defendant from the remaining counts
          at sentencing.

    •     The defendant agrees to the forfeiture as outlined in the indictment.

    •     The government will not object to a fuU reduction for acceptance of
          responsibility if recommended by the United States Probation Office.

    •    If the defendant cooperates and earns a 5K1.1 or Rule 35 reduction,
         the United States Attorney's Office may file a motion for a sentencing
         reduction, as outlined in the plea agreement.

    •     The defendant agrees to acknowledge at the time of the plea the truth
          of the "Factual Basis" contained in the plea agreement.

    •    The defendant waives aU rights to request information about the
         investigation and prosecution of his case under the Freedom of
         Information Act and the Privacy Act.

    •     The defendant waives the protections of Rule 11(f) of the Federal Rules
          of Criminal Procedure and Rule 410 of the Federal Rules of Evidence.
         If he fails to plead guilty, or later withdraws his guilty plea, all
         statements made by him in connection with that plea, and any leads
         derived therefrom, shall be admissible for any and all purposes.
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•     The defendant agrees to waive his right to appeal his sentence, with
      the limited exceptions outlined in the plea agreement.

•     The defendant waives his right to collaterally attack his conviction and
      sentence, with one limited exception, as outlined in the plea
      agreement.

•     The defendant agrees to pay on the date of sentencing any assessments
      imposed by the Court.
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                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA
                             BRUNSWICK DIVISION

UNITED STATES OF AMERICA


       V.                                            CR 218-4


GARY A. GOSS,JR.

                                 PLEA AGREEMENT


       Defendant Gary A. Goss, Jr., represented by his counsel Reid Zeh, Esq. and the

United States of America, represented by Assistant United States Attorney E. Greg

Gilluly, Jr. have reached a plea agreement in this case. The terms and conditions of

that agreement are as follows.

1.     Guilty Plea


       Defendant agrees to enter a plea of guilty to a lesser-included count contained

within Count One of the Indictment, Conspiracy to Possess with Intent to Distribute

and to Distribute a Quantity of Methamphetamine, in violation of Title 21, United

States Code, Section 846. Defendant also agrees to plead guilty to Count Three ofthe

Indictment, Felon in Possession of Firearms, in violation of Title 18, United States

Code, Section 922(g)(1). The government agrees to dismiss the remaining count(s) at

sentencing.

2.     Elements and Factual Basis


       The elements necessary to prove the lesser-included offense charged in Count

One, Conspiracy to Possess with Intent to Distribute and to Distribute a Quantity of

Methamphetamine are:
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      (1)    Two or more people in some way agreed to try to accomplish a shared
             and unlawful plan to possess a quantity of methamphetamine;

      (2)    the defendant, knew the unlawful purpose of the plan and willfully
             joined in it; and

      (3)    the object of the unlawful plan was to possess with intent to distribute
             and to distribute a quantity of methamphetamine.

      The elements necessary to prove Count Three, Felon in Possession of a
Firearm(s), are:

      (1)    The defendant knowingly possessed a firearm in or affecting interstate
             or foreign commerce; and

      (2)    before possessing the firearm, the defendant had been convicted of a
             felony- a crime punishable by imprisonment for more than one year.

      Defendant agrees that he is, in fact, guilty of these offenses. He agrees to the

accuracy of the following facts, which satisfy the required elements:

      Beginning at a time unknown to the Grand Jury, but at least from about

January 2017, and continuing until on or about June 5, 2017, in Glynn and Brantley

Counties within the Southern District of Georgia, and elsewhere, the defendant,

GARY A. GOSS,JR. and others, did knowingly and intentionally, combine, conspire,

confederate and agree with others to possess with the intent to distribute and to

distribute a quantity of Methamphetamine, a Schedule II controlled substance, in

violation of Title 21, United States Code, Section 846.

      On June 4, 2017, in Brantley County, within the Southern District of Georgia,

the defendant GARY A. GOSS,JR., a felon, did knowingly possess firearms that were

manufactured outside the state of Georgia; thereby affecting interstate commerce.

He possessed a Hi-Point.380 semi-automatic pistol, a DPMS AR-15,.223 caliber rifle.
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a Taurus 9mm semi-automatic pistol, and ammunition, in violation of Title 18,

United States Code, Section 922(g)(1). Additionally, in Glynn County, as a felon, he

possessed a Sig Sauer .40 caliber pistol, a CBC .22 caliber rifle, and ammunition,

3.     Possible Sentence


       Defendant's guilty plea will subject him to the following maximum possible

sentences:


       Count One, Lesser Included: Conspiracy to Possess with Intent to Distribute

and to Distribute a Quantity of Methamphetamine:

       -Not more than 20 years of incarceration;
       -Not less than 3 years of supervised release, up to life;
       -A fine up to $1,000,000; and
       -A $100 mandatory special assessment.


Count Three: Felon in Possession of Firearm(s):

       -Not more than 10 years of incarceration;
       -Not more than 3 years of supervised release;
       -A fine up to $250,000; and
       -A $100 mandatory special assessment.

       However, if the defendant has three or more prior serious drug trafficking

felonies and/or violent felonies, as defined by Title 18, United States Code, Section

924(e), then:

       -Not less than 15 years of incarceration, up to life;
       -Not more than a $250,000 fine;
       -Not more than 3 years of supervised release; and
       -$100 mandatory special assessment.
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4.     No Promised Sentence


       No one has promised Defendant that the Court will impose any particular

sentence or a sentence within any particular range. The Court is not bound by any

estimate of sentence given or recommendations made by Defendant's counsel, the

government, the U.S. Probation Office, or anyone else. The Court may impose a

sentence up to the statutory maximum. Defendant will not be allowed to withdraw

his plea of guilty if he receives a more severe sentence than he expects.

5.     Court's Use of Sentencing Guidelines

       The Court is obligated to use the United States Sentencing Guidelines to

calculate the applicable guidehne range for Defendant's offense. The Sentencing

Guidehnes are advisory; the Court is not required to impose a sentence within the

range those Guidelines suggest. The Court will consider that range, possible

departures under the Sentencing Guidelines, and other sentencing factors under 18

U.S.C. § 3553(a), in determining the Defendant's sentence.           The Sentencing

Guidehnes are based on^of Defendant's relevant conduct, pursuant to U.S.S.G. §

IB 1.3, not just the conduct underlying the particular Count or Counts to which

Defendant is pleading guilty.

6.     Agreements Regarding Sentencing Guidelines

       a.    Use of Information


       Nothing in this agreement precludes the government from providing full and

accurate information to the Court and U.S. Probation Office for use in calculating the

applicable Sentencing Guidehnes range. It is understand however, that information
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received via U.S.S.G. § IB 1.8 will not be used against the defendant, so long as the

defendant is truthful and does not commit any conduct that is inconsistent with

acceptance of responsibility.

       b.    Acceptance of ResponsibUitv

       The government will not object to a recommendation by the U.S. Probation

Office that Defendant receive a two-level reduction in offense level for acceptance of

responsibility pursuant to Section 3E1.1(a) of the Sentencing Guidelines. If the U.S.

Probation Office makes that recommendation, and Defendant's offense level is 16 or

greater prior to any reduction for acceptance of responsibility, the government will

move for an additional one-level reduction in offense level pursuant to Section

3E1.1(b) of the Sentencing Guidelines based on Defendant's timely notification of his

intention to enter a guilty plea.

7.     Cooperation


       a.    Complete and Truthful Cooperation



       The defendant must provide full, complete, candid, and truthful cooperation in

the investigation and prosecution ofothers in state and federal court. Defendant shall

fully and truthfully disclose his knowledge of those offenses and shall fully and

truthfully answer any question put to him by law enforcement officers about those

offenses.

       This agreement does not require Defendant to "make a case" against any

particular person. His benefits under this agreement are conditioned only on his
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cooperation and truthfulness, not on the outcome of any trial, grand jury, or other

proceeding.


        b.    Motion for Reduction in Sentence Based on Cooperation


        The government, in its sole discretion, will decide whether Defendant's

cooperation qualifies as "substantial assistance" pursuant to U.S.S.G.§ 5K1.1 or Fed.

R. Grim. P. 35 and thereby warrants the fifing of a motion for downward departure

or reduction in Defendant's sentence. If such a motion is filed, the Court, in its sole

discretion, will decide whether, and to what extent. Defendant's sentence should be

reduced. The Court is not required to accept any recommendation by the government

that the Defendant's sentence be reduced.


8.      Forfeiture

        a.    In accordance with the forfeiture language in the indictment. Defendant

agrees to forfeit his interest in the property seized in this case, including the Hi-Point

.380 pistol, serial number P8121958, DPMS AR-15,.223 caliber rifle, serial number

FFH148600, Taurus 9mm caliber pistol, serial number TJR85971, Sig Sauer .40

caliber pistol, serial number 24B259840, CBC .22 caliber rifle, serial number,

EMK3974165, Remington .22 caliber rifle, serial number A2696439, ammunition,

and other property seized in this case (the "subject property").

        b.    Defendant agrees to hold the government and its agents and employees

harmless from any claims made in connection with the seizure, forfeiture, or disposal

of property connected to this case.         Defendant further agrees to waive the
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requirements of the Federal Rules of Criminal Procedure 32.2 and 43(a) regarding

notice of the forfeiture in the charging instrument, announcement ofthe forfeiture at

sentencing, and incorporation of the forfeiture in the judgment.

        c.    Defendant waives and abandons his interest in any other property that

may have been seized in connection with this case. Additionally, Defendant waives

any and all challenges on any grounds to the seizure, forfeiture, and disposal of any

property seized in connection with this case. Defendant specifically agrees to waive

any challenges arising under the Double Jeopardy Clause of the Fifth Amendment

and the Excessive Fines Clause of the Eighth Amendment.

9.      Financial Obligations and Agreements

        a.    Special Assessment


        Defendant agrees to pay a special assessment in the amount of $200, payable

to the Clerk of the United States District Court, which shall be due immediately at

the time of sentencing.

        b.    Required Financial Disclosures

        By the date that Defendant enters a guilty plea. Defendant shall complete a

financial disclosure form listing all his assets and financial interests, whether held

directly or indirectly, solely or jointly, in his name or in the name of another.

Defendant shall sign the financial disclosure form under penalty of perjury and

provide that form to the Financial Litigation Unit of the United States Attorney's

Office and to the United States Probation Office. Defendant authorizes the United

States to obtain credit reports on Defendant and to share the contents ofthose reports
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with the Court and the United States Probation Office. Defendant also authorizes

the United States Attorney's Office to inspect and copy all financial documents and

information held by the United States Probation Office.

        c.    Financial Examination

        Defendant will submit to an examination under oath on the issue of his

financial disclosures and assets if deemed necessary by the United States. Such

examination will occur not later than 30 days after the entry of Defendant's guilty

plea.

        d.    No Transfer of Assets

        Defendant certifies that he has made no transfer of assets in contemplations

of this prosecution for the purpose of evading or defeating financial obhgations [or

forfeiture] created by this Agreement or that may be imposed upon her by the Court

at sentencing. Defendant promises that he will make no such transfers in the future.

        e.    Material Change in Circumstances


        Defendant agrees to notify the United States of any material change in

circumstances, as described in 18 U.S.C. § 3664(k), that occurs prior to sentencing in

this case. Such notification will be made within seven days of the event giving rise

to the changed circumstances, and in no event later than the date of sentencing.

        f.    Enforcement


        Any payment schedule imposed by the Court is without prejudice to the United

States to take all actions and remedies available to it to collect the full amount of the

financial obhgations imposed by the judgment of the Court in this case. Defendant


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understands and agrees that the financial obligations imposed by the judgment ofthe

Court in this case will be placed on the Treasury Offset Program so that any federal

payment that Defendant receives may be offset and applied to the judgment debt

without regard to or affecting any payment schedule imposed by the Court.

10.   Waivers


      a.     Waiver of Appeal

      Defendant entirely waives his right to a direct appeal of his conviction and

sentence on any ground. The only exceptions are that the Defendant may file a

direct appeal of his sentence if(1)the court enters a sentence above the statutory

maximum,(2)the court enters a sentence above the advisory Sentencing Guidelines

range found to apply by the court at sentencing; or (3)the Government appeals the

sentence. Absent those exceptions, Defendant explicitly and irrevocably instructs

his attorney not to file an appeal.

      b.     Waiver of Collateral Attack


      Defendant entirely waives her right to collaterally attack her conviction and

sentence on any ground and by any method, including but not hmited to a 28 U.S.C.

§ 2255 motion. The only exception is that Defendant may collaterally attack his

conviction and sentence based on a claim of ineffective assistance of counsel.

      c.     FOIA and Privacv Act Waiver


      Defendant waives all rights, whether asserted directly or through a

representative, to request or receive from any department or agency of the United

States any record pertaining to the investigation or prosecution of this case under the


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authority of the Freedom of Information Act, 5 U.S.C. § 552, or the Privacy Act of

1974, 5 U.S.C. § 552a, and all subsequent amendments thereto,

       d.    Fed. R. Grim. P. 11(f) and Fed. R. Evid. 410 Waiver

       Rule 11(f) of the Federal Rules of Criminal Procedure and Rule 410 of the

Federal Rules of Evidence ordinarily limit the admissibihty of statements made by a

defendant during the course of plea discussions or plea proceedings. Defendant

knowingly and voluntarily waives the protections of these rules. If Defendant fails

to plead guilty, or his plea of guilty is later withdrawn, all of Defendant's statements

in connection with this plea, and any leads derived therefrom, shall be admissible for

any and all purposes.

11.    Defendant's Rights

       Defendant has the right to be represented by counsel, and if necessary have

the court appoint counsel, at trial and at every other critical stage of the proceeding.

Defendant possesses a number of rights which he will waive by pleading guilty,

including: the right to plead not guilty, or having already so pleaded, to persist in

that plea; the right to a jury trial; and the right at trial to confront and cross-examine

adverse witnesses, to be protected from compelled self-incrimination, to testify and

present evidence, and to compel the attendance of witnesses.

12.    Satisfaction with Counsel


       Defendant has had the benefit of legal counsel in negotiating this agreement.

Defendant believes that his attorney has represented him faithfully, skillfully, and




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diligently, and he is completely satisfied with the legal advice given and the work

performed by his attorney.

13.   Breach of Plea Agreement


      IfDefendant fails to plead guilty, withdraws or attempts to withdraw his guilty

plea, commits any new criminal conduct following the execution of this agreement, or

otherwise breaches this agreement, the government is released from all of its

agreements regarding Defendant's sentence, including any agreements regarding the

calculation of Defendant's advisory Sentencing Guidehnes.         In addition, the

government may declare the plea agreement null and void, reinstate any counts that

may have been dismissed pursuant to the plea agreement, and/or file new charges

against Defendant that might otherwise be barred by this plea agreement. Defendant

waives any statute-of-limitations or speedy trial defense to prosecutions reinstated

or commenced under this paragraph.

14.   Entire Agreement


      This agreement contains the entire agreement between the government and

Defendant.


                             Signatures on following page




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                                 BOBBY L. CHRISTINE
                                 UNITED STATES ATTORNEY



Date                             Brian T. Rafferty
                                 Chief/ Criminal Division



Date                             E. Gre^ Gilluly, Jr.
                                 Assistant United States Attorney




                       Signatures on following page




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       I have read and carefully reviewed this agreement with my attorney. I

understand each provision of this agreement, and I voluntarily agree to it. I hereby

stipulate that the factual basis set out therein is true and accurate in every respect.




Date                                    GARYTJO^
                                        Defendant



       I have fully explained to Defendant all of his rights, and I have carefully

reviewed each and every part of this agreement with him. I believe that he fully and

completely understands it, and that his decision to enter into this agreement is an

informed, intelligent, and voluntary one.




Date                                    Reidl^ch, Esq.
                                        Defendant's Attorney




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                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA
                          SAVANNAH DIVISION


UNITED STATES OF AMERICA

V.                                                  CR 218-4


GARY GOSS



                                      ORDER


      The aforesaid plea agreement, having been considered by the Court in

conjunction with the interrogation by the Court of the defendant and the

defendant's attorney at a hearing on the defendant's motion to change his plea and

the Court finding that the plea of guilty is made freely, voluntarily and knowingly,

it is thereupon,

      ORDERED that the plea of guilty by defendant be, and it is, hereby accepted

and the foregoing Plea Agreement be, and it is, hereby ratified and confirmed.



             This        day of




                                  LISi. GO           CD, JUDGE
                                             STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF GEORGIA
